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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA,
                                               Criminal No. 21-cr-626
        v.
                                               DEFENDANT GUNBY’S MOTION
  DEREK COOPER GUNBY,                          TO DISMISS ONE OF TWO
                                               “DISORDERLY CONDUCT”
                      Defendant.               COUNTS DUE TO MULTIPLICITY



COMES NOW Defendant Derek Cooper Gunby (“Gunby”), by and through
undersigned counsel John Pierce, with this Motion to dismiss one of two
“disorderly conduct” counts on grounds of multiplicity.


In the alternative, Gunby moves for the Court to combine counts two and three into

a single count, as one is simply a lesser-included offense of the other.

      Gunby is charged by information with violations of both 18 U.S.C. §

1752(a)(2) (“Disorderly and Disruptive Conduct in a Restricted Building or

Grounds,” “with intent to impede or disrupt the orderly conduct of Government

business or official functions” where “such conduct, in fact, impedes or disrupts

the orderly conduct of Government business or official functions”)

      And; 40 U.S.C. § 5 l 04(e)(2)(D) (uttering loud, threatening, or abusive

language, or engaging in disorderly or disruptive conduct, at any place in the
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Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or

disturb the orderly conduct of a session of Congress . . .”).

      These two counts invoke different statutes which criminalize the identical

conduct. Accordingly, conviction on both counts for the same conduct will violate

the double jeopardy clause.

                                 INTRODUCTION
      Count 2 alleges that Gunby knowingly, and with intent to impede and

disrupt the orderly conduct of Government business and official functions, engaged

in disorderly and disruptive conduct in, and within such proximity to the United

States Capitol, a restricted building, when, and so that, such conduct did in fact

impede and disrupt the orderly conduct of Government business and official

functions in violation of 18 U.S.C. § 1752(a)(2)).

      Count 3 is essentially a repeat of Count 2, but invokes a different statute. It

alleges that on January 6, Gunby willfully and knowingly engaged in disorderly

and disruptive conduct at any place in the Grounds or in any of the Capitol

Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a

session of Congress in violation of 40 U.S.C. § 5104(e)(2)(D)).

      Plainly, Count 2 and Count 3 allege the precise same conduct by Gunby,

with no significant distinctions. The two statutes have different origins; with one
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pertaining to crimes at the Capitol and one pertaining more broadly-defined

“disorderly conduct” which disrupts “Government business.” But with the

exception of the differing origins of the statutes, the two charges are essentially

one.

       (If there is any difference at all, it is only that Count 2 alleges that Gunby’s

conduct “did in fact” “impede and disrupt the orderly conduct of Government

business and official functions” whereas Count 3 appears to have no allegation of

Gunby having “in fact” impeded or disrupted Congress. Even if so, this means that

Count 3 is simply a lesser-included-offense of Count 2 rather than a separate and

distinct crime.

       Since Count 2 charges the same conduct as Count 3, convictions for both

these counts would violate the Double Jeopardy Clause of the U.S. Constitution.

Moreover the unnecessary multiplication of counts will prejudice a judge or jury

against Gunby.

       Multiplicity arises when “an indictment charges the same offense in more

than one count.” United States v. Mahdi, 598 F.3d 883, 887 (D.C. Cir. 2010),

quoting United States v. Weathers, 186 F.3d 948, 951 (D.C. Cir. 1999). The

Double Jeopardy Clause of the Constitution protects against “multiple punishments

for the same offense.” Weathers, 186 F.3d at 951, cert. denied, 529 U.S. 1005

(2000); U.S. Const. amend. V, cl. 2. Also, courts have recognized that charging the
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same offense in multiple counts can “unfairly increas[e] a defendant’s exposure to

criminal sanctions” because a jury may conclude that given the number of charges,

the defendant must be guilty of something. United States v. Clarke, 24 F.3d 257,

261 (D.C. Cir. 1994), quoting United States v. Harris, 959 F.2d 246, 250 (D.C. Cir.

1992), abrogated on other grounds, United States v. Stewart, 246 F.3d 728 (D.C.

Cir. 2001); see also United States v. Morrow, 102 F. Supp. 3d 232, 246 (D.D.C.

2015) (multiplicitous charges may suggest to a jury “that a defendant has

committed not one but several crimes”), quoting United States v. Reed, 639 F.2d

896, 904 (2d Cir. 1981); United States v. Phillips, 962 F. Supp. 200, 202 (D.D.C.

1997).

      If Gunby is convicted of Count 2, she will obviously be guilty of Count 3.

In the words of the Supreme Court, the inquiry turns on whether proof of one of

“necessarily includes proof of” the other. Ball v. United States, 470 U.S. 856, 862

(1985).

      The counts of Gunby’s indictment expose her to double jeopardy for the

same alleged act. The Double Jeopardy Clause protects criminal defendants against

both successive punishments and prosecutions for the same criminal offense.

United States v. Dixon, 509 U.S. 688, 696 (1993) (citing North Carolina v. Pearce,

395 U.S. 711 (1969)); see also United States v. Davenport, 519 F.3d 940, 943 (9th

Cir. 2008); United States v Mancuso, 718 F.3d 780, 791 (9th Cir. 2013). When
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two different criminal statutes are violated, “the double jeopardy prohibition is

implicated when both statutes prohibit the same offense or when one offense is a

lesser included offense of the other.” Rutledge v. United States, 517 U.S. 292, 297

(1996)).


COULD THE GOVERNMENT PROSECUTE THESE COUNTS IN
SUBSEQUENT TRIALS IF THE COUNTS WERE SEPARATED?


      Another way to analyze this is to ask if the government could later charge

Gunby with “disorderly conduct” which impedes official government business if

she were first acquitted at a trial for “disorderly conduct” with the intent to impede

Congress.

      Any court would obviously bar such a prosecution as double jeopardy.

ACCORDINGLY, Gunby moves to dismiss either count 2 or count 3, or—in the

alternative—to require that one is merely the lesser-included-offense of the other.

Gunby cannot constitutionally be punished for two separate crimes in this manner.
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CERTIFICATE OF ELECTRONIC SERVICE
I hereby certify and attest that on October 7, 2022, I caused this document to be
uploaded and filed in this case, using the electronic filing system established by the
Court. By doing so, I automatically served the document to counsel for the United
States.


                                       /s/ John M. Pierce
                                       John M. Pierce
